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 1                                                                   The Honorable Thomas S. Zilly
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12                           UNITED STATES DISTRICT COURT
13                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14
15   NINTENDO OF AMERICA INC.,
16                                                       NO. 2:20-cv-00738-TSZ
17                      Plaintiff,
18                                                       [PROPOSED]
19           v.                                          ENTRY OF DEFAULT AGAINST ALL
20                                                       DEFENDANTS
21   DOES 1-20, d/b/a, ANXCHIP.COM,
22   AXIOGAME.COM, FLASHCARDA.COM,
23   MOD3DSCARDS.COM, NX-CARD.COM,
24   SXFLASHCARD.COM, TXSWITCH.COM,
25   and USACHIPSS.COM,
26
27                      Defendants.
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29
30          THIS MATTER came before the Court on Plaintiff’s Motion for Entry of Default. It
31
32   appearing that no Defendant has answered or otherwise defended, default is entered against each
33
34   and every Defendant.
35
36          DATED this ______ day of August, 2020.
37
38
39                                               __________________________________________
40                                               Clerk of the Court
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42
43
44
45


     ENTRY OF DEFAULT                                              G O RD O N   600 University Street
     No. 2:20-cv-00738                                               TILDEN     Suite 2915
                                                                   THOMAS       Seattle, WA 98101
                                                                  CORDELL       206.467.6477
             Case 2:20-cv-00738-TSZ Document 22-1 Filed 08/11/20 Page 2 of 2



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45


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